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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

X
ln Re
Case No. 16-42610
Chapter ll
BRIGID GIAMBRONE
Assigned to:
Debtor. Hon. Carla E. Craig

Bankruptcy Judge

X

 

AFFIRMATION IN REPLY TO DEBTOR’S OPPOSITION FOR AN ORDER TO
RECONSIDER AND AMEND MCCORMICK’S PRIOR ORDER GRANTING RELIEF
FROM AUTOMATIC STAY, NUNC PRO TUNC

BSI Financial Services as servicing agent for McCormick 105, LLC, (“Secured
Creditor” or “Movant” or “McCormick”) by its attorneys, the Law Ofiices of Jeffrey S. Greene,
P.C., submits this reply to the Debtor’s opposition to McCormick’s motion for this Court’s
Order pursuant to 11 U.S.C. §105 to reconsider and amend the Court’s prior Order dated and
entered August 4, 2017 permitting McCormick 105, LLC to commence and/or continue an action
to enforce its’ mortgage lien which it holds on real property of the Debtor, 18 Belfleld Avenue,
Staten Island, New York 10312, nunc pro tunc.

1. The Afiinnation in Opposition by the Debtor’s attorney, Fredrick P. Stern, dated
August 13, 2018 (ECF Doc#264) is nothing short of frivolous under Fed. R. Ban.kr. P. 9011.
The Debtor’s Opposition constitutes a baseless filing designed to have BSI/McCormick and its’
attorney expend unnecessary resources. This filing is presented for an improper purpose and

will cause an unnecessary delay in the prosecution of McCormick’s State Court rights. Such

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State Court rights Which this Court specifically Ordered that BSI on behalf of McCormick Was
authorized to continue.

2. “The purpose of Rule 9011 is to deter baseless filings in bankruptcy and thus
avoid the expenditure of unnecessary resources by imposing sanctions on those found to have
violated it." In re MAS Real;ry Co;p., 326 B.R. 31, 37 (Bankr. D. Mass. 2005). Under Rule
9011(b), an attorney Who signs "a pleading, Written motion, or other paper" certifies that "the
allegations and other factual contentions have evidentiary support. . .The Bankruptcy Court may
issue sanctions against parties, firms, or individual attorneys sua sponte provided that it enters an
order to show cause. Fed. R. Bankr. P. 9011(0)(1)(B).” See, Ameriguest Mortg. Co. v. United
States Bankr. Court for the Dist. of Mass. (In re NoselQ, 406 B.R. 434, 438 (D. Mass. 2009).

3. Judge Craig’s Order granting BSI/McCormick’s relief from the automatic stay
dated and entered August 4, 2017 (ECF Doc#192) specifically Ordered, in relevant part, that:
(a) McConnick may exercise its rights under applicable state law With respect to the Property
and (b) McCormick shall notify the Debtor of any surplus proceeds realized through a sale of
the Propeity.

4. The Richmond County Supreme Court issued a Judgment of Foreclosure and
Sale dated July 30, 2018 and entered August 7, 2018 duly Ordering that the mortgaged
premises “be sold” by the State Court appointed Referee upon public notice in accordance With
RPAPL §231. BSI/McCormick has accordingly caused the publication of the Notice of Sale
and the auction/sale date is currently scheduled for October 4, 2018 at 2:00pm. Annexed hereto
as Exbibit “A” is a true copy of the Notice of Entry of said Judgment of Foreclosure and Sale
and a Notice of Sale that Was served upon the State Court attorney for the Debtor as Well as the

Debtor herself.

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5. The Debtor’s Opposition to the instant motion seeks to purposefully and
intentionally frustrate BSI/McCormick’s state rights as Well as the spirit and literal language of
this Court’s Order from relief from the automatic stay. Without the, nunc pro tunc, relief
requested in the instant motion there can be no proper devolution of title of the mortgaged
premises upon foreclosure sale and any possibility of any surplus monies cannot be realized
due to a potential title defect caused by the gap period described in the pending motion.

6. The contrived and baseless legal reasoning for the Debtor’s Opposition may
only be surpassed by the sloppy “cut and paste” job in Mr. Stern’s affirmation

7. Notwithstanding the Debtor’s assertion to the contrary, the instant motion is not
untimely as this motion is not brought under Bankruptcy Rule 9023 or FRCP §59. The instant
motion involves an Order, not a Judgment and it clearly seeks to remedy a mistake and/or
inadvertence pursuant to Bankruptcy Rule 9024 or FRCP §60 (as well as 11 U.S.C. §105). The
timing for a motion under FRCP §60 is one year. Since the subject Order of Relief was entered
August 7, 2017 and the instant motion was filed July 6, 2018, the pending motion is NOT
untimely. Moreover, FRCP §60(b)(6) and (c) authorizes a motion within any “reasonable time”
for relief for “any other reason that justifies relief’. This pending motion has brought within a
reasonable time since the State Court Judgment of Foreclosure and Sale was only recently
issued on July 30,: 2018 and entered August 7, 2018. Moreover, the justification for the pending
motion is beyond peradventure or doubt.

8. Mr. Stern’s citation to the relevant case law of In re WorldCom Inc., 325 B.R.

 

511, 519 (Bankr. S.D.N.Y. 2005) and In re Ebadi, 448 B.R. 308, 317 (Bankr. E.D.N.Y. 2011)
ironically supports McCormick’s position and offers no support Whatsoever for the Debtor’s

meritless and frivolous arguments.

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9. Apparently, Mr. Stern just “cut and paste” from another set of papers lingering
on his word processor. Mr. Stern’s affirmation argues against a phantom entity named “LP”
and relies on facts not present in the instant case. He wrongly claims the Debtor in this case
failed to initially comply with filing requirements and had an incomplete creditor list.

10. Moreover, Mr. Stem, in a jumbled manner Without any evidentiary support,
seems to fault McCormick for purportedly failing to timely notify the State Supreme Court of
the Debtor’s bankruptcy filing. This claim is meritless. Firstly, the Debtor could have informed
the State Court on her own and secondly, there was really no need to advise the State Supreme
Court as the record clearly reveals that McCormick duly submitted proposed long form Orders
for Judge Troia’s signature on March 8, 2016 (the very same day Judge Troia’s short form
Orders were entered in the Richmond County Clerk’s Office). And, the signing of said long
form Orders are essentially a “ministerial act” that does not technically violate the automatic
stay. Annexed hereto as Exhibit “B” is a true copy of the State Court filing receipt of said
proposed long form Orders.

11. lt is clear that the Debtor’s Opposition papers are inexcusable and completely
baseless warranting the imposition of sanctions under Rule 9011.

WHEREFORE, McCormick 105, LLC respectfully requests an Order pursuant to 11
U.S.C. §105 to reconsider and amend the Court’s prior Order dated and entered August 4, 2017
granting it relief from the Automatic Stay, nunc pro tunc, to insure the State Court Long Form
Orders awarding Summary Judgment and appointing a Temporary Receiver (August 4, 2016)
do not and did not violate the automatic stay. McCormick further respectfully request this

Court issue an Order to Show Cause for separate hearing on the issue of sanctions and the

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amount of costs and expenses to be awarded to BSI/McCormick under Fed. R. Bankr. P. 9011,

and any further relief as to this Court seems just and proper.

Dated: September 10, 2018
White Plains, New York
Law Offices of Jeffrey S. Greene, P.C
Attorneys for BSI Financial Services as
Servicing agent for McCormick 1 05, LLC

By: /s/ Jeffrey S. Greene
Jeffrey S. Greene (JSG-9941)

One Barker Avenue, Second Floor
White Plains, New York 10601
Tel: (914) 686-5091

